Case 1:04-cv-01160-.]DT-STA Document 10 Filed 06/09/05 Page 1 of 3 /[Page|D 1Q
//f[)oj
IN THE UNITED sTATEs DISTRICT COURT 05 //,Q pp

FoR THE wESTERN DISTRICT oF TENNESSEE j ' “9 435
EASTERN Di\/IsloN . l a-

 

JEFFREY BUTLER,
Plaintiff,
VS. No. l-O4-1160-T-An

ORMET ALUMINUM MILLS
PRODUCTS, et al.,

\_/‘-_/\_/\._/\_/\-._/\_/\_/\_/\._/

Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

 

Plaintiff Jeffrey Butler filed a pro se complaint against his former employer,
Defendant Ormet Aluminum Mills Products, as well as against Defendant West Tennessee
Healthcare, Inc., alleging racial discrimination, unlawful termination, and adverse
employment action. On December 6, 2004, this court dismissed West Tennessee Hea]tlicare
as a party to the action. On April 22, 2005, Plaintiff obtained an entry for default with the
Clerk against the remaining defendant, Ormet, under Fed. R. Civ. P. 55(a). Before the court
is Plaintist motion for default judgment pursuant to Fed. R. Civ. P. 55(b).

Under Rule 55 of the F ederal Rules of Civil Procedure, the court may grant a default
judgment against a defendant who has failed to file an answer or motion to dismiss within
twenty days from the date that the complaint was filed, or within such additional time as the

Court has granted The Rule provides that “[w]hen a party against whom a judgment for

Th|e document entered on the docket ln cum once
with auto ss and.-'or_?s (a) FncP on w

Case 1:04-cv-01160-.]DT-STA Document 10 Filed 06/09/05 Page 2 of 3 Page|D 11

affirmative relief is sought has failed to plead or otherwise defend as provided by these rules
and that fact is made to appear by affidavit or otherwise, the clerk shall enter the party's
default.” Fed. R. Civ. P. 55(a). Once a party has obtained an entry of default from the Clerk
under Rule 55(a), the party may then seek a default judgment pursuant to Rule 5 5(b). M
Coin Meter Co. v. Seaboard Coastline R.R., 705 F.Zd 839, 844 (6th Cir. 1983)

Because Defendant has failed to file an answer or otherwise defend this action,
Plaintiff’ s motion for default judgment against Ormet is GRANTED. The matter is hereby
REFERRED to Magistrate Judge S. Thomas Anderson for a hearing and report and
recommendation on damages

IT IS SO ORDERED.

 

 

 

sA's'rTEDSTRrCT OURT - wEST RN r)"ISRrCT oF TNNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:04-CV-01160 was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

.1 effrey Butler
126 Wilkinson
Jackson, TN 38301

Honorable .1 ames Todd
US DISTRICT COURT

